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Carl Barnard/CEO/ Channel Source
110 Holmes Dr
Spartanburg, SC
11-23-22


Dear Honorable Judge Thomas Hogan,


Case #

I’m writing to ask for leniency for my friend George A. Tenney III, who pleaded guilty of
18 U.S.C.231(a)(3),1512(c)(2) on 6-21-22 and will be entering the sentencing phase soon.

Thank you for allowing me to share with you the George Amos Tenney I know.

         I am Carl Barnard, CEO and Founder of Channel Source. I have known George Tenney,
         for 6 years. George and I were founding members of a local Greenville band the Mojo
         Katz. In addition to being a talented musician, I know George to be an outstanding and
         loving father to his children.

         I am aware of the event that George was involved in, and his arrest. I also, know that he
         has suffered personally for his actions and regrets his uncharacteristic involvement.

         George is also a small business owner who work long hours at his local restaurant to
         serve his community and to support his family. George is a talented chef and a very hard
         worker.

         Any man can consider himself lucky to have a friend who would get up in the middle of
         the night to come help, if he broke down on the side of the rode. George is that kind of
         Man.

         I truly hope the court find that one moment of poor judgement does not define the life of
         such a hardworking family man, Husband, Father, Son and Friend, as I know George to
         be.



         Carl Barnard
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